
634 So.2d 366 (1994)
STATE ex rel. Charles BANKS
v.
STATE of Louisiana.
No. 92-KH-1802.
Supreme Court of Louisiana.
February 11, 1994.
Granted. The rulings of the courts below are vacated because relator's post-conviction application was timely and is meritorious. The case is remanded to the district court, which court is ordered to grant relator an out-of-time appeal and appoint counsel to handle the appeal. See, Lofton v. Whitley, 905 F.2d 885 (5th Cir.1990); State ex rel. Tucker v. State, 624 So.2d 1211 (La.1993); State v. Robinson, 590 So.2d 1185 (La.1992). If appointed counsel, after review of the record, finds no basis for assigning error on appeal, he may follow the procedure outlined in State v. Benjamin, 573 So.2d 528 (La.App. 4th Cir.1990).
DENNIS, J., not on panel.
